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                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OFR LOUISIANA


In re:                                                )
                                                      )
FREDERICK ADDISON, et al.,                            )
                                                      )       Case No: 19-cv-11133
                                                      )
                Plaintiffs,                           )       Section: E
                                                      )       Judge Susie Morgan
v.                                                    )
                                                      )       Magistrate Judge:
                                                      )       Michael North
LOUISIANA REGIONAL LANDFILL                           )
COMPANY, et al.,                                      )       *Applies to all cases.
                                                      )
                Defendants.                           )

                                             ORDER

         Considering the foregoing Motion to Appear Pro Hac Vice:

         IT IS ORDERED, ADJUGED, AND DECREED that the motion is GRANTED and that

JAMES JEFFCOAT, Esq. of the firm Whiteford, Taylor & Preston, LLP be, and he is hereby,

enrolled as additional counsel for the Plaintiffs, Frederick Addison et al herein with all privileges

and rights pertaining thereto.



         New Orleans, Louisiana on the ____ day of _________, 2024.




                                                      ___________________________
                                                      Hon. U.S. District Judge- Susie Morgan
